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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


STEVEN E. GREER, MD                      )
                                         )
                                         )        CIVIL ACTION NO.
                                         )
          Plaintiff;                     )      15-CV-6119 (AJN)(JLC)
                                         )
     v.                                  )
                                         )
                                         ) PLAINTIFF’S SECOND DEMAND
ROBERT SERPICO and                       )       FOR DOCUMENTS
THE BATTERY PARK CITY AUTHORITY          )
                                         )
          Defendants.                    )
                                         )
                                         )
                                         )
                                         )
                                         )
                                         )
                                         )
                                         )
                                         )




                                      Steven Greer, pro se
                                      4674 Tatersall Court
                                      Columbus, Ohio 43230
                                      (212) 945-7252
                                      steve@batterypark.tv




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        PLEASE TAKE NOTICE that, pursuant to FRCP 26, and the applicable rules of the

court, Plaintiff STEVEN E GREER hereby requests and demands that Defendants ROBERT

SERPICO and The BATTERY PARK CITY AUTHORITY (“BPCA”) respond to the following

First Set of Requests for Production of Documents described herein, and provide them in

electronic PDF form via email to steve@batterypark.tv, and hardcopy to the address of 4674,

Tatersall Court, Columbus, OH 43230, within twenty (20) days after the service of this request

(the “Request”).

                                           DEFINITIONS

        1.      The term “communication” shall mean any conversation, discussion, letter,

memorandum, e-mail, instant message, Blackberry message, Bloomberg message, meeting, note

or other transfer of information, whether written or oral or by any other means, whether direct or

indirect, formal or informal or any abstract thereof.

        2.      Document is used in the broadest sense and includes, without limitation, and by

way of illustration only and not by way of limitation, all written or graphic matters of every kind

and description, whether printed or reproduced by process, or written or produced by hand,

whether final, draft, original or reproduction, including: letters, correspondence, memoranda

of telephone or personal conversations, microfilm, microfiches, telegrams, books, magazines,

newspapers advertisements, periodicals, bulletins, circulars, brochures, pamphlets, statements,

notices, advertising layouts, trade letters, press releases, reports, rules, regulations, directives,

teletype or telefax messages, electronic mail, computer hard drives, computer disks, minutes or

records of meetings, inter-office communications, financial statements, ledgers, books of

account, proposals, prospectuses, offers, orders, receipts, working papers, desk calendars,

appointment books, diaries, routing slips, time sheets, logs, movies, tapes (or visual or audio




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reproductions), records, drawings, blueprints, sketches, plans, graphs, charts, photographs,

shipping papers, purchase orders, phonograph records, data processing paper results, data

printouts and computation (both in existence and stored in memory components), transcripts of

oral statements of testimony, reports of or summaries of interviews, reports of or summaries of

investigations, opinions or reports of consultants, forecasts, opinions of counsel, court papers,

any and all other data, compilations or information resources from which information can

be obtained or translated, if necessary, through detection devices in a reasonably useable form,

or material similar to any "document” or "documents" as used herein.

       3.      The terms “document” or “documents" as used herein also include the original of

any document in whatever form or media it may exist, and all copies of each document,

including copies of all sides or sheets thereof, and any marks thereon, including by way of

illustration only and not by way of limitation, initials, stamped indicia, or any comment or

notation of any character not a part of the original text, or any reproduction thereof.

       4.      Document means, without limitation, all communications, tape and all other

electronic recordings, computer disks, summaries and transcripts of the foregoing, reports,

correspondence, telegrams, memoranda, summaries and records of personal conversations or

interviews, diaries, records, books, summaries and records of telephone conversations, letters,

e-mails, accounts, account statements, work papers, telex files, teletype, telegrams,

contracts, notes, marginal notations, photographs, ledgers or other records of original entry,

checks (back and front), bills, invoices, receipts, documents of title, drafts of any of the

foregoing, if applicable, and any other document, recording, or writing of whatever nature and

description.




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       5.         In responding to the demands herein, all designated documents in your

possession, custody or control are to be produced. This includes documents in the possession,

custody or control of any attorneys, or any third-party or parties to whom you have surrendered

possession, custody or control, or who upon your request would surrender possession, custody or

control to you.

       6.         In the event that any document is to be withheld on the basis of a claim of

privilege, or not produced for any other reason, that document is to be identified as follows:

whether original or draft, manner of recording or reproduction, addressor(s), addressee(s),

author(s), indicated or blind copies, date(s) of preparation, subject matter, number of pages, and

attachments, all persons to whom distributed or show, present custodian, nature of the privilege

or reason for non-production, and the facts and grounds constituting the nature and basis of each

such privilege or reason.

       7.         If any document is produced in redacted form, that portion of the document,

which is redacted is to be identified and the response is to identify the ground(s) for producing

the document in redacted form.

       8.         In the event than any document called for has been lost or destroyed, that

document is to be identified as follows: whether original or draft, manner of recording or

reproduction, addressor(s), addressee(s), author(s), indicated or blind copies, date, subject matter,

number of pages, attachments or appendices, all persons to whom distributed, shown or

explained, date of loss or destruction, reason for destruction, person authorizing destruction,

person destroying document, and custodian of the document at the date and time of loss and

destruction.




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          9.     If you cannot produce documents in response to a request because no documents

have ever existed, so state in writing.

          10.    These document requests shall be deemed continuing, so as to require seasonable

supplemental or amended production if you receive or generate additional documents in the

designated categories between the time of original production and time of the trial.

          11.    Communication includes every manner of transmitting or receiving information,

opinions, and thoughts, orally, in writing, or otherwise, and shall include conversations as well as

the definition of document as set forth in paragraph “1” above.

          12.    As used herein, "similar" shall mean having a likeness or resemblance, showing

resemblance in qualities, and/or characteristics; alike but not identical.

          13.    Identify, when used in the reference to an individual, means to state his or her full

name, present or last known home and business address and telephone numbers, present or last

known position or business affiliation, position or business affiliation at the times in question in

this litigation, all positions held, and nature of his or her connection or involvement with this

action.

          14.    Identify, when used in reference to a firm, partnership, corporation, liability

company or company, means to state its name, the name under which it does business, the nature

of its business, its addresses and telephone numbers, and the name of the individuals at the entity

that were involved in this matter.

          15.    Identify, when used in reference to a document, means to state its date, its author,

type of document (e.g., letter, memorandum, telegram, agreement, contract, tape recording, etc.),

a description of its contents or substance, its present location or custodian, and each recipient of

it or a copy of it.




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       16.      Identify, when used with reference to oral communications means to state the:

             a. Identity of the person(s) participating in each such oral communication;

             b. The substance of each oral communication made by each person identified;

             c. To whom each such oral communication was made;

             d. The date(s) of each such oral communication;

             e. The location where such oral communication was made;

             f. Whether made by telephone and, if so, the identity of the party making the call,

                the identity of the party to whom made, from where made, and to where made;

             g. Whether there were any witnesses to such oral communications and, if so, identify

                such witnesses; and

             h. Whether there are any documents constituting notes, memoranda or other

                evidence of such oral communications and if so, identify such documents.

       17.      Identify, when used in a reference to a tangible object, means to describe the

object including stating its manufacturer, model number, and serial number, if any.

       18.      Words importing the masculine, feminine, or neuter gender shall be construed to

include any or all of the three genders, as the context requires.

       19.      “State” means to set forth fully and unambiguously every fact, relevant to the

answer called for by the demands, of which defendant has knowledge, and to:

             a. Set forth all facts of which defendant has knowledge which form the basis of the

                allegation; and

             b. Where acts or activities are involved, identify all persons who performed each act,

                the person on whose behalf such acts were performed, and the date and nature of

                each act; and




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             c. Identify all documents relating to the facts or acts described in answer to the

                relevant demands; and

             d. Identify all oral communications relating to the facts or acts described in answer

                to the relevant demands; and

             e. Identify all persons having knowledge of the facts or acts described in answer to

                the relevant demands; and

             f. Identify the source of the information set forth and the date or approximate date

                on which the information was communicated to the affiant.

       20.      The conjunctives “and” and “or” shall be construed as requesting the broadest and

most inclusive response called for in the context of each particular interrogatory. These terms

are intended to be interpreted synonymously and to encompass both the conjunctive and the

disjunctive.

       21.      “Person” means an individual, corporation, proprietorship, partnership,

professional corporation, trade association, group, governmental agency or agent, receiver, or

trustee in bankruptcy or other insolvency proceedings


                                         INSTRUCTIONS

       A.       Unless otherwise indicated, the documents covered by this request shall include

all documents in the possession, custody or control of Defendants that were generated or

received, or otherwise came into existence or were utilized, from the period January 1, 2013 to

the date of production unless otherwise stated in the request.

       B.       Documents to be produced include, without limitation, any responsive document

that was or is prepared, kept, or maintained for the personal use, in the personal files, or as the

personal property of any employee, officer, agent or representative of Defendants.




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       C.        A request for any documents shall be deemed to include a request for any and all

transmittal sheets, cover letters, exhibits, enclosures, or attachments to the document, in addition

to the document itself.

       D.        A request for any document shall be deemed to include a request for all drafts

thereof and all revisions and modifications thereto, in addition to the document itself.

       E.        If Defendant withholds any documents covered by this request by reason of a

claim of privilege, a list is to be furnished identifying each such document together with the

following information: (i) the date of the document; (ii) the names of its author, authors, or

preparers and an identification by employment, and title of each person; (iii) the name,

employment and title of each person (a) to whom the document was sent or furnished, or (b) who

viewed or has custody of the document; (iv) a brief description of the document sufficient to

permit the Court to adjudicate the validity of the privilege claimed; (v) a statement of the basis

for the claim of privilege; and (vi) the paragraph of this request to which the document relates.

In the case of any document relating in any way to a meeting or to any other conversation, all

participants in the meeting or conversation arc to be identified.

       F.        If any request for production of documents contained herein is claimed to be

objectionable, then:

       G.        The portion of such document production or request that is claimed to be

objectionable shall be identified and the nature and basis of the objection shall be stated with

sufficient particularity and in sufficient detail to permit the Court to adjudicate the validity of the

objection; and




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       H.       Any document withheld from production pursuant to such objection shall be

identified with sufficient particularity and in sufficient detail to permit the Court to determine

that such document falls within the scope of the objection; and

       I.       Documents shall be produced in response to any portion of any such document

production request not claimed to be objectionable.

       J.       This Request is a continuing one and requires further and supplemental

production by Defendants as and whenever Defendants acquire or make additional documents

between the times of the initial production hereunder and the time of the trial in this action.

       K.       If any document requested herein was at one time in existence, but has been lost,

discarded or destroyed, provide a schedule identifying:

             a. Each document, including the date, nature, subject matter, author(s), and

                recipients;

             b. The last known custodian of the documents;

             c. The date the document was lost, discarded, or destroyed;

             d. The reason(s) for losing, discarding, or destroying the document

             e. Each person having knowledge of the document; and,

             f. Each person having knowledge of the circumstances of the document's loss,

                discard, or destruction.

       L.       When producing a document, you are requested to also produce all non-identical

drafts thereof and all copies thereof upon which are placed any additional or different marks or

notations.




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                                 DOCUMENTS REQUESTED

        1.      After a specific defined electronic search of the computers and storage methods

for emails, from the date range of 1/1/2012 through 8/4/2015, provide any all emails which

mention, “Steven Greer”, “Greer”, “200 Rector Place”, or any nickname assigned to Plaintiff by

BPCA staff, “BatteryPark.TV”, “Steve Rossi”, “Milford Management”, “Janet Martin”, “Loraine

Doyle”, to list some of the search words that might be within emails discussing Plaintiff. The

purpose of this request is to demonstrate that the defendants were planning the conspiracy

against Plaintiff.

        2.      The specific documents that detail the lease between the BPCA and the real estate

defendants for the office space in the ground floor of 200 Rector Place. This should include the

RFP for the construction process, the actual lease, and any communications among BPCA staff

that discuss the need for the office space. The purpose is to demonstrate that the lease was for

office space not needed by the BPCA and was really a quid pro quo payback as part of the

conspiracy and collusion alleged in the complaint.

        3.      The specific documents that detail the location of all office space for the BPCA

within the Battery Park City region. The large lease documents are not essential. We simply seek

the locations and size in square footage of the entirety of the footprint of BPCA office space. The

purpose is to show that the lease for space in 200 Rector Place was not needed.

        4.      Specific documents, from 1/1/2013 through to current day, that directly relate to

the scheme to set up a video viewing room on the parks office on West Thames in which

members of the public could view the board meetings. The purpose of this request is to detail the

planning and strategy for the violation of Plaintiff’s First Amendment rights to report on the

board meetings.




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       5.      From 1/1/2013 to 8/4/2015, documents that pertain to any meeting of any kind

between Robert Serpico or any BPCA staff or board members, with any of the real estate

defendants or employees of the real estate defendants. Logs from the sign-in desk on the 24th

floor BPCA offices are to be included. The purpose of this request is to detail the

communications and strategy for the conspiracy alleged in the complaint.

       6.      Documents that relate to BPCA defendants’ personal real estate transactions, such

as the sale of apartments by Howard Milstein or Mariners Cove Site B Associates to BPCA staff

and board members, ever. The purpose of this request is to demonstrate an unusually cozy

relationship that would be essential in order to have the conspiracy alleged in the complaint.

       7.      Documents that prove Defendants’ claim that Plaintiff was disruptive during

BPCA board meetings.

       8.      The addresses, email contacts, and phone contact information for the following

BPCA staff, or former staff:

               •       Dennis Mehiel
               •       Shari Hyman
               •       Robert Serpico
               •       Kevin McCabe
               •       Alix Pustilnik
               •       Seema Singh
               •       Robin Forst
               •       Brenda McIntyre
               •       Tessa Huxley
               •       Vince McGowan
               •       Anne Fenton
               •       Matthew Monahan
               •       Kirk Swanson
               •       Demetrios Boutris
               •       Andrew Rafalaf
               •       The wife of Deshay Crabb
               •       Deshay Crabb
               •       Elizabeth Papanicolaou
               •       Nancy Harvey




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               •       Allison Ford

        The purpose of this request is to learn more about possible witnesses to be called by

Plaintiff or to be deposed.


        PLEASE TAKE NOTICE, that failure to respond to these demands will be deemed a

waiver as to the use of an expert by Defendants at the time of trial, and that, in such a case, a

preclusion order will be sought by Plaintiff enforcing such waiver.

        PLEASE TAKE FURTHER NOTICE, that this demand is continuing in nature and

accordingly, must be supplemented or modified as soon as information contained in any response

hereto becomes inaccurate or incomplete.

Dated: New York, New York
February 17, 2017
                                               Sincerely

                                               _____________________________
                                               STEVEN GREER
                                               4674 Tatersall Court
                                               Columbus, Ohio 43230
                                               (212) 945-7252
                                               Steve@batterypark.tv


To:     Justin Gunnell and Michael Tremonte of Sher Tremonte LLP




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